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 6
                                    UNITED STATES DISTRICT COURT
 7

 8                                 NORTHERN DISTRICT OF CALIFORNIA

 9
     UNITED STATES OF AMERICA, ex rel.                 Case No.: 5:16-cv-01120-BLF
10   GREGOR LESNIK; STJEPAN PAPES,
                                                       PLAINTIFF STJEPAN PAPES’
11                   Plaintiffs,                       ADMINISTRATIVE MOTION FOR LEAVE TO
                                                       FILE MOTION FOR RECONSIDERATION TO
12                                                     ALLOW FOR FILING RULE 54 MOTION FOR
            vs.
                                                       RECOVERY OF ATTORNEYS FEES
13
     EISENMANN SE, et al.
14
                     Defendants.                       Ctrm:         3, 5th Floor
15
                                                       Judge:        Hon. Beth Labson Freeman
16

17

18   TO ALL PARTIES AND TO THEIR COUNSEL OF RECORD:

19          PLEASE TAKE NOTICE that pursuant to Northern District of California Civil Local
20   Rule 7-9, Plaintiff Stjepan Papes hereby moves this Court for an order granting him leave
21
     to file a motion for reconsideration of this Court's September 19, 2021 Order Granting in
22
     Part and Denying Plaintiffs’ Third Motion for Default Judgment as to Trafficking Victims
23
     Protection Reauthorization Act Claim (Dkt # 586).
24

25          The Order denied a request for fees. To the extent this precludes a Rule 54 Motion

26   for Fees, Plaintiff Papes respectfully contends that the Order failed to consider material

27   facts or dispositive legal arguments which were presented to the Court before such
28
                                                        1
                  US ex rel Lesnik v Eisenmann, et al; US Dist Ct., ND Cal. 5:16-cv-1120 BLF
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     interlocutory order. (See Villanueva v. United States, 662 F.3d 124, 128 (1st Cir. 2011)
 1

 2   (where movant shows district court has misunderstood the party or made error of

 3   apprehension, reconsideration may be proper).) Plaintiff Papes had identified the basis

 4   for recovery of fees, Papes had not filed a Rule 54 motion to be decided, and the time for
 5
     Papes to file a motion for fees still has not expired under Federal Rules of Civil Procedure
 6
     Rule 54 and Civil Local Rule 54-5.
 7
            Under Northern District Civil Local Rule 7-9, a party may seek leave to file a motion
 8
     for reconsideration any time before judgment. (N.D. Civ. L.R. 7-9(a).) The Court issued its
 9

10   interim Order while motions for default judgment are still unresolved. This administrative

11   motion for leave is being filed on October 3, 2022, which is prior to entry of Judgment.
12   (See FRCP Rule 54(b).)
13
            A motion for reconsideration may be made under Local Rules on three grounds.
14
     Here, Plaintiff believes that there was a “failure by the Court to consider material facts or
15
     dispositive legal arguments which were presented to the Court before such interlocutory
16

17   order.” (N.D. Civ. L.R. 7-9(b)(3).)

18          The moving party may not reargue any written or oral argument previously

19   asserted to the Court. (Id., 7-9(c). See also Hopkins v. Bonvicino, 2011 WL 995961, *1
20   (N.D. Cal. Mar. 21, 2011) (White, J.) (unpublished).) Here, the Plaintiff did not have an
21
     opportunity to present oral argument on issues raised by the Order, or matters raised by
22
     the Court in its Order that were not raised by moving party in his Motion.
23
            Plaintiff thus seeks leave to move for reconsideration of the ruling and that he be
24

25   allowed to seek recovery of fees under the Coerced Labor Cause of Action by a Rule 54

26   Motion for Fees

27          The motion for reconsideration is based on FRCP Rules 54, 59(e) and 60(b),
28
                                                      2
                US ex rel Lesnik v Eisenmann, et al; US Dist Ct., ND Cal. 5:16-cv-1120 BLF
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     Northern District Civil Local Rule 7-9, and 54-5, and this Court’s inherent authority.
 1

 2          Local Rule 7-9 states “Unless otherwise ordered by the assigned Judge, no

 3   response need be filed and no hearing will be held concerning a motion for leave to file a

 4   motion to reconsider. If the judge decides to order the filing of additional papers or that
 5
     the matter warrants a hearing, the judge will fix an appropriate schedule.” (N.D. Civ. L.R.
 6
     7-9 (d).)
 7
            Plaintiff Papes attaches as Exhibit to this motion the proposed Motion for
 8
     Reconsideration.
 9

10          Plaintiff Papes request that the Court grant him leave to file a motion for

11   reconsideration and determine whether filing of additional papers or a hearing is
12   appropriate.
13

14
     Dated: October 3, 2022
15
                                                _/s/______________________
16                                              William C. Dresser
17                                              Attorneys for Plaintiff
                                                Stjepan Papes
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                 US ex rel Lesnik v Eisenmann, et al; US Dist Ct., ND Cal. 5:16-cv-1120 BLF
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US ex rel Lesnik, et al v Eisenmann, et al; US Dist Ct., ND Cal. no. 5:16-cv-01120 BLF




Attachment to Administrative Motion

proposed Motion for Reconsideration
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                                      UNITED STATES DISTRICT COURT
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 8                                  NORTHERN DISTRICT OF CALIFORNIA

 9
     UNITED STATES OF AMERICA, ex rel.                          Case No.: 5:16-cv-01120-BLF
10   GREGOR LESNIK; STJEPAN PAPES,
                                                               [proposed]
11                    Plaintiffs,                              PLAINTIFF STJEPAN PAPES’ MOTION FOR
                                                               RECONSIDERATION TO ALLOW FOR
12                                                             FILING RULE 54 MOTION FOR RECOVERY
             vs.
                                                               OF ATTORNEYS FEES
13
     EISENMANN SE, et al.
14
                      Defendants.                              Date:       February 2, 2023
15                                                             Time:       9:00 a.m.
                                                               Ctrm:       3, 5th Floor
16                                                             Judge:      Hon. Beth Labson Freeman
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     US EX REL LESNIK ET AL V EISENMANN SE ET AL; 5:16-CV-01120-BLF
     MTN FOR RECONSIDERATION
        Case 5:16-cv-01120-BLF Document 615 Filed 10/03/22 Page 6 of 10




 1                              NOTICE OF MOTION AND MOTION
 2
     TO ALL PARTIES AND TO THEIR COUNSEL OF RECORD:
 3
            PLEASE TAKE NOTICE that on February 2, 2023, at 9:00 a.m., or as soon
 4
     thereafter as the matter may be heard, in the United States District Court for the Northern
 5

 6   District of California, San Jose, Courthouse, located at 280 South First Street, San Jose,

 7   California, in Courtroom 3, before the Honorable Judge Beth Labson Freeman, Plaintiff

 8   Stjepan Papes will and hereby does move pursuant to Federal Rules of Civil Procedure,
 9
     Rules 59(e) and 60(b), Northern District Civil Local Rule 7-9, and this Court's inherent
10
     authority for reconsideration of this Court's September 19, 2021 Order Granting in Part
11
     and Denying Plaintiffs’ Third Motion for Default Judgment as to Trafficking Victims
12
     Protection Reauthorization Act Claim (Dkt # 586).
13

14          Plaintiff Papes requests that he be allowed to seek recovery of fees under the

15   Coerced Labor Cause of Action by a Rule 54 Motion for Fees.
16          Moving Plaintiff’s motion is based on this Notice of Motion and accompanying
17
     Memorandum of Points and Authorities, and the concurrently filed Motion for Fees
18
     including supporting Declarations, all documents in the Court’s file, any other matters that
19
     this Court may take judicial notice, and on such written or oral argument that the Moving
20

21   Plaintiff may present to the Court.

22   Dated: October 3, 2022

23                                             _/s/______________________
                                               William C. Dresser
24                                             Attorneys for Plaintiff Stjepan Papes
25

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                                                    1
                US ex rel Lesnik v Eisenmann, et al; US Dist Ct., ND Cal. 5:16-cv-1120 BLF
                                    Pltf Papes’ Mtn for Reconsideration
        Case 5:16-cv-01120-BLF Document 615 Filed 10/03/22 Page 7 of 10




                           MEMORANDUM OF POINTS AND AUTHORITIES
 1

 2             Plaintiff Papes requests that this Court reconsider the September 19, 2021 Order

 3   Granting in Part and Denying Plaintiffs’ Third Motion for Default Judgment as to

 4   Trafficking Victims Protection Reauthorization Act Claim (Dkt # 586) and allow him to seek
 5
     recovery of fees under the Coerced Labor Cause of Action by a Rule 54 Motion for Fees.
 6
               Stjepan Papes is the prevailing party on the Third Amended Complaint under the
 7
     NINTH CAUSE OF ACTION Trafficking and Coerced Labor under TVPRA (18 U.S.C. §
 8
     1595). The TVPRA provides that a victim "may recover damages and reasonable
 9

10   attorney’s fees." (18 U.S.C. § 1595, subd (a).) The NINTH CAUSE OF ACTION

11   Trafficking and Coerced Labor under TVPRA (18 U.S.C. § 1595) requested relief of these
12   fees: “353. Plaintiffs also request recovery of attorneys fees and costs.”
13
               Plaintiff’s April 8, 2021 Renewed Motion for judgment under a coerced labor claim
14
     states:
15
          “Plaintiffs Lesnik and Papes seek compensatory damages, exemplary damages, and
16

17        attorney’s fees against defendants ISM Vuzem, d.o.o., ISM Vuzem USA, Inc.,

18        Vuzem USA, Inc., HRID-Mont, d.o.o., Robert Vuzem, and Ivan Vuzem.”

19        Dkt # 560, at pg 9
20        “An individual who is a victim of a violation of this chapter [Chapter 77 of Title 18]
21
          may bring a civil action against the perpetrator (or whoever knowingly benefits,
22
          financially or by receiving anything of value from participation in a venture which that
23
          person knew or should have known has engaged in an act in violation of this
24

25        chapter) in an appropriate district court of the United States and may recover

26        damages and reasonable attorneys fees.” (18 U.S.C. 1595)

27        Id., at pg 12
28
                                                      2
                  US ex rel Lesnik v Eisenmann, et al; US Dist Ct., ND Cal. 5:16-cv-1120 BLF
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           The April 6, 2021 Renewed Motion also includes in the Conclusion “Attorney’s fees
 1

 2   should also be awarded.” Id., at pg 30.

 3         The same statement of the basis of the right to fees was stated in Plaintiffs’ August

 4   25, 2020 motion for judgment under a coerced labor claim. Dkt, 506 at pg 9 and 11.
 5
           The Court’s September 19, 2021 Order Granting in Part and Denying Plaintiffs’
 6
     Third Motion for Default Judgment as to Trafficking Victims Protection Reauthorization Act
 7
     Claim (Dkt # 586) states:
 8
          Papes merely states “[a]ttorney’s fees should also be awarded.” Mot. at 30. Papes
 9

10        provides no further statements or information regarding attorney’s fees. Papes does

11        not request a specific amount of attorney’s fees. Furthermore, Papes does not
12        provides declarations or affidavits containing a statement of the services rendered
13
          by each person for whom fees are requested and a brief description of their relevant
14
          qualifications as is required by Civil Local Rule 54-5(b)(2)-(3). Accordingly, the Court
15
          DENIES Papes’ request for attorney’s fees.
16

17        Order, at pg 31.

18         Plaintiff believes this should be without prejudice to Plaintiff filing a motion under

19   Rule 54 which is the motion containing that information. Civil Local Rule 54-5 cited to in
20   the September 19, 2021 Order allows for a motion for attorneys fees to be filed after entry
21
     of judgment, as long as within 14 days of entry of judgment
22
          (a)      Time for Filing Motion. Motions for awards of attorney’s fees by the Court
23
          must be served and filed within 14 days of entry of judgment by the District Court,
24

25        unless otherwise ordered by the Court after a stipulation to enlarge time under Civil

26        L.R. 6-2 or a motion under Civil L.R. 6-3.

27        Civ. Local Rule 54-5
28
                                                    3
                US ex rel Lesnik v Eisenmann, et al; US Dist Ct., ND Cal. 5:16-cv-1120 BLF
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            Federal Rules of Civil Procedure, Rule 54 provides for the same 14 days after entry
 1

 2   of judgment to file a motion for fees. Rule 54 states

 3        “(B) Timing and Contents of the Motion. Unless a statute or a court order provides

 4        otherwise, the motion must:
 5
          (i) be filed no later than 14 days after the entry of judgment;”
 6
          FRCP, Rule 54
 7
            There has not been a Judgment entered in the within action. The time to file a
 8
     motion under Rule 54 has not expired, and did not expire in Septembef of 2021 when the
 9

10   Court issued an Order as to one of several causes of action in this case. Plaintiff Papes

11   through counsel had intended to file a motion for fees after all Orders for judgment had
12   been issued and within the time period set forth in the Local Rules and in the Federal
13
     Rules of Civil Procedure.
14
            There being no judgment, relief was not requested for an extension of time to file a
15
     motion for fees.
16

17          Relief is sought on the basis of this Court’s inherent authority regarding interim

18   rulings and on “A manifest failure by the Court to consider material facts or dispositive

19   legal arguments which were presented to the Court before such interlocutory order,” Civ.
20   Local Rule 7-9, being the request for an Order allowing for fees, being requested in I.
21
     SUMMARY OF COERCED LABOR CLAIMS, with statutory authority quoted in IV.
22
     ARGUMENT A. Trafficking and Coerced Labor under TVPRA (18 U.S.C. § 1595) 1.
23
     Civil lawsuit is authorized in situations like those in this case, and requested in VI.
24

25   CONCLUSION.”

26          Plaintiff Papes brings this motion prior to the hearing on a pending motion for

27   judgment on FLSA claims. This motion is sought to be heard concurrently with that
28
                                                     4
                US ex rel Lesnik v Eisenmann, et al; US Dist Ct., ND Cal. 5:16-cv-1120 BLF
                                    Pltf Papes’ Mtn for Reconsideration
       Case 5:16-cv-01120-BLF Document 615 Filed 10/03/22 Page 10 of 10




     motion for judgment, and a motion for fees.
 1

 2          WHEREFORE, Plaintiff Papes requests that this Court reconsider the September

 3   19, 2021 Order insofar as it would preclude Plaintiff Papes from recovery under the

 4   concurrently filed Rule 54 motion for fees, which motion which is filed “no later than 14
 5
     days of the entry of judgment.’ Plaintiff Papes requests an Order allowing him to seek
 6
     recovery of fees under the Coerced Labor Cause of Action by the concurrently filed Rule
 7
     54 Motion for Fees.
 8

 9
     Dated: October 3, 2022
10
                                               __/s/_____________________
11                                             William C. Dresser
                                               Attorneys for Plaintiff
12                                             Stjepan Papes
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                                                    5
               US ex rel Lesnik v Eisenmann, et al; US Dist Ct., ND Cal. 5:16-cv-1120 BLF
                                   Pltf Papes’ Mtn for Reconsideration
